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BELTANA TRANSPORT, and
BRUCE E. POND,

 

Plaintiffsr

V.
No. 05-2031 Ml/P
ANDREW OBERLE and BELTANA
TRANSPORT, LLC,

Defendants.

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ORDER GRANTING AWARD OF ATTORNEY'S FEES

 

Before the Court is Plaintiffs’ Motion for Clarification,
filed July l, 2005. On July 13, 2005, the Court ordered Defendants
to show cause why the Court should not award Plaintiffs $5,480.75
in attorney's fees and $190.00 in costs in connection with
Plaintiffs' previous motion to remand. Defendants responded to the
order to show cause and in opposition to Plaintiffs' motion on July
19, 2005. Plaintiffs filed a response to Defendants opposition on
July 22, 2005. Defendants filed a second response to Plaintiff's
motion on July 27, 2005.

On March 22, 2005, the Court granted Plaintiffs’ motion to
remand this case to the Chancery Court of Shelby County and for
attorney’s fees and costs related to the motion to remand. (See
Order Granting Mot. to Remand, March 22, 2005 (Docket No. 13).) In

its July l, 2005, motion for clarification, Plaintiffs submitted

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with nme 55 and/or 79(3) FncP on ' “'O

 

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the sworn affidavit of Daniel C. Shumake, Plaintiffs' counsel, in
support of their request for attorney’s fees. (Pls.’ Mot. for
Clarification, Ex. C (Aff. of Daniel C. Shumake) 1 4.) Mr.
Shumake's affidavit indicates that he charged an hourly rate of
$185.00 for his services and that staff from Mr. Shumake’s firm
spent a total of 32.55 hours in connection with Plaintiffs' motion
to remand. (Id.) In total, Mr. Shumake's affidavit indicates that
his firm billed a total of $5,480.75 in attorney's fees and that
Plaintiffs incurred $190.00 in costs related to the motion for
remand. (Id.)

The primary concern in an attorney's fee application is that
the fee awarded be reasonable. Reed v. Rhodes, 179 F.3d 453, 471
(6th Cir. l999}(citing Blum v. Stenson, 465 U.S. 886, 893 (1984))R
“The party seeking attorneys fees bears the burden of documenting
[its] entitlement to the award.” gggd, 179 F.3d at 472 (citing
Webb v. Dver Countv Bd. of Educ., 471 U.S. 234, 242 (1985)). A
fee applicant is required to submit evidence supporting the hours
worked and the rates claimed. ;Q; (citing Hensley v. Eckerhart,
461 U.S. 424, 433 (1983)).

Defendants contend that the attorney’s fees requested are
insufficiently documented and represent an excessive fee. The
Court finds, however, that Plaintiffs have sufficiently documented

their entitlement to an award of attorney’s fees and that the

 

1 Although Reed involved a fee award pursuant to 42 U.S.C. §
1988, the Court finds its holding applicable to the instant case.

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amount of attorney's fees requested are reasonable. Accordingly,
Plaintiff’s motion for clarification, which the Court hereby
construes as a motion for an award of attorney’s fees, is GRANTED.
Defendants shall pay to Plaintiffs $5,480.75 in attorney’s fees.
In addition, Plaintiffs are granted leave to file a supplemental
fee petition seeking compensation for attorney's fees incurred in
filing their motion for clarification and reply.2

Defendants also contend that Plaintiffs are not entitled to
$190.00 in costs because they failed to timely apply for an award
of costs pursuant to Local Rule 54.1.3 The Court finds that the
time for Plaintiffs to apply for costs should be tolled pending the
Court's resolution of Plaintiffs’ motion for clarification.

Accordingly, should Defendants not agree to Plaintiffs’ request for

 

2 Although Plaintiffs requested an additional $1,480.00 in
their July 22, 2005, reply, the Court cannot determine the
reasonableness of that request because no affidavit accompanied
the submission indicating the number of hours spent regarding the
motion for clarification and reply, the relevant hourly billing
rate, and a description of the work performed.

3 Local Rule 54.l(b) provides, in relevant part:

Costs. If counsel for the litigants in a civil case
can agree on costs, it is not necessary to file a cost
bill with the clerk. If counsel cannot agree, a cost
bill will be filed with the clerk within thirty days
from the termination of the case. If a cost bill is
filed, the clerk will assess costs after notice and
hearing. No costs are to be paid through the clerk
except those that are due the clerk.

U.S. Dist. Ct., W.D. Tenn. Loc. R. 54.l{b).

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$190.00 in costs, Plaintiffs will be allowed to file an application

for costs within 30 days from the date of entry of this order.
so oRDERED this L) day cf August, 2005.

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JO P. MCCALLA
UN TED STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CV-02031 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

Jimmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT

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Honorable Jon McCalla
US DISTRICT COURT

